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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


 DUFFY ARCHIVE LIMITED,

                         Plaintiff,

               v.                                       Case No.:

 MP 36 WEST 10TH STREET LLC and
 DOES 1-10,

                        Defendants.



                                 COMPLAINT AND JURY DEMAND

         Plaintiff Duffy Archive Limited, (“Plaintiff”), by its undersigned attorneys,

 Rath, Young and Pignatelli, P.C., for its complaint alleges as follows:

                                      SUBSTANCE OF THE ACTION

         1.         This is a case of willful copyright infringement in violation of 17 U.S.C.

 §§ 106(1), and 501.

        2.      Plaintiff seeks compensatory or statutory damages in an amount to be

established at trial.
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                                        PARTIES

         3.     Plaintiff Duffy Archive Limited is a British private limited company with a

 principal place of business at Unit 9, Harts Barn, Monmouth Road, GL17 0QD, Longhope,

 England, United Kingdom.

         4.     Upon information and belief, defendant MP 36 West 10th Street LLC (“MP

 36”) is a domestic limited liability company organized and existing under the laws of New

 York, with a principal place of business at 36 West 10th Street, New York, NY 10011-8715.

        5.      Defendants Does 1 through 10 (“Doe Defendants” and together with MP 36

 West 10th Street LLC, collectively, “Defendants”) are currently unknown to Plaintiff and,

 as such, are identified in this action with fictitious names. Upon information and belief,

 each of the Doe Defendants are legally responsible at least in part for the events and actions

 constituting the conduct damaging Plaintiff. Plaintiff will seek leave of Court to amend this

 complaint to identify and include the actual names and capacities of the Doe Defendants

 after Plaintiff obtains such information.

                                JURISDICTION AND VENUE

        6.      This is a civil action seeking damages and injunctive relief for copyright

 infringement under the copyright laws of the United States, and therefore this Court has

 jurisdiction under 17 U.S.C. § 101 et seq., 28 U.S.C. § 1331 (federal question jurisdiction),

 and 28 U.S.C. § 1338 (a) (jurisdiction over copyright actions).

        7.      Personal jurisdiction over Defendants is proper. Defendants are conducting

 business in and committing torts in this state, including without limitation Defendants’

 copyright infringement, which causes harm in this state and judicial district.


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         8.        Pursuant to 28 U.S.C. § 1391, venue properly lies in this Court because a

 substantial part of the events giving rise to the claims herein occurred in this judicial

 district.

                       FACTS COMMON TO ALL CLAIMS FOR RELIEF

 A.      Plaintiff’s Business

             9.    Plaintiff owns and manages the photographic works of the world-renowned

 fashion photographer Brian Duffy, who first published fashion photography for Harper’s

 Bazaar and later for Elle, Glamour Magazine, Esquire, The Sunday Times and others. Brian

 Duffy is also famous for his celebrity photography, which includes iconic images of many

 musicians and actors who sat for Duffy, including Sammy Davis Jr, Michael Caine, Tom

 Courtenay, Nina Simone, John Lennon, Sidney Poitier, Harold Wilson, Charlton Heston,

 Brigitte Bardot and David Bowie.

             10.   Brian Duffy is the author of the original work of photographic art that is the

 iconic David Bowie - Aladdin Sane image, a copy of which is attached hereto as Exhibit A

 (the “Copyrighted Work”)

             11.   Plaintiff owns the copyrights in and to the Copyrighted Work.

             12.   On June 12, 2009, Mr. Duffy obtained a registration with the United States

 Copyright Office for the Copyrighted Work, Registration Number VA 1-428-937, a copy of

 which is attached hereto as Exhibit B.

             13.   On or about May 21, 2010, Plaintiff acquired all rights to the Copyrighted

 Work.

         14.       Plaintiff owns all rights, title, and interests, including copyrights, in and to the

 Copyrighted Work.


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 B.      Defendants’ Unlawful Activities

         15.    Upon information and belief, MP 36 is a media company that owns a number

 of websites, including one located at the URL http://www.baeblemusic.com, where high

 quality photographic images, such as the Copyrighted Work belonging to Plaintiff, are used to

 draw internet users to visit and remain at its websites, thus profiting from advertising and

 other revenue that grows as viewership grows.

         16.    Plaintiff has discovered that MP 36 has been infringing Plaintiff’s exclusive

 copyrights in the Copyrighted Work.

         17.    Specifically, Plaintiff discovered the Copyrighted Works being reproduced,

 distributed, and publicly displayed at www.baeblemusic.com, screenshots of which are

 attached hereto as Exhibit C (the “Infringing Website”).

         18.    Upon information and belief, MP 36 or the Doe Defendants located the

 Copyrighted Work on the internet and, without authorization from Plaintiff, downloaded the

 Copyrighted Work to computer systems owned or operated by MP 36 or the Doe Defendants

 and then uploaded the Copyrighted Work to the Infringing Website and then publicly

 displayed the Copyrighted Work, thus unlawfully committing a number of infringing acts,

 namely, reproducing, distributing and publicly displaying the Copyrighted Work.

         19.    Upon information and belief, MP 36 or the Doe Defendants are directly

 responsible for the unlawful reproduction, distribution, and public display of the Copyrighted

 Work.

         20.    MP 36 or the Doe Defendants’ reproduction, distribution, and public display of

 Plaintiff’s Copyrighted Work are without Plaintiff’s authorization.

         21.    MP 36 or the Doe Defendants unauthorized reproduction, distribution, and


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 public display of Plaintiff’s Copyrighted Work are knowing and willful and in reckless

 disregard of Plaintiff’s rights.

                               FIRST CLAIM FOR RELIEF
                              (Direct Copyright Infringement)

         22.     Plaintiff realleges the above paragraphs and incorporates them by reference as

 if fully set forth herein.

         23.     The Copyrighted Work is an original work of authorship, embodying

 copyrightable subject matter, subject to the full protection of the United States copyright

 laws.

         24.     Upon information and belief, as a result of Plaintiff’s public display of the

 Copyrighted Works, MP 36 or the Doe Defendants had access to the Copyrighted Works

 prior to using it at the Infringing Website.

         25.     By its actions, as alleged above, MP 36 or the Doe Defendants has infringed

 and violated Plaintiff’s exclusive rights in violation of the Copyright Act, 17 U.S.C. §501, by

 reproducing, distributing and publicly displaying the Copyrighted Work.

         26.     Upon information and belief, the infringement by MP 36 or the Doe

 Defendants is willful and deliberate and MP 36 has profited at the expense of Plaintiff.

         27.     As a direct and proximate result of MP 36 or the Doe Defendants infringement

 of Plaintiff’s exclusive copyrights in the Copyrighted Work, Plaintiff is entitled to recover its

 actual damages resulting from such uses of the Copyrighted Work without paying license

 fees, in an amount to be proven at trial.

         28.     In addition, at Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff

 shall be entitled to recover damages based on a disgorgement of the profits from infringement

 of the Copyrighted Works, which amounts will be proven at trial.

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         29.      In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

 statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to

 the infringing reproduction, distribution, and public display of the Copyrighted Work, or such

 other amounts as may be proper under 17 U.S.C. § 504(c).

         30.     Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant

 to 17 U.S.C. § 505.

         31.     MP 36 or the Doe Defendants conduct has caused and any continued

 infringing conduct will continue to cause irreparable injury to Plaintiff unless enjoined by this

 Court. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is

 entitled to a permanent injunction prohibiting infringement of Plaintiff’s exclusive rights

 under copyright law.

                                  SECOND CLAIM FOR RELIEF
                               (Contributory Copyright Infringement)

         32.     Plaintiff realleges the above paragraphs and incorporates them by reference as

 if fully set forth herein.

         33.     As an alternative theory to its direct infringement claim, in the event MP 36 or

 the Doe Defendants contend the infringing conduct described above is done by another, MP

 36 or the Doe Defendants had either actual or constructive knowledge of the above-described

 infringements and either induced, caused or materially contributed to the infringing conduct

 described above.

         34.     By the actions, as alleged above, MP 36 or the Doe Defendants foregoing acts

 of contributory infringement violate Plaintiff’s exclusive rights in violation of the Copyright

 Act, 17 U.S.C. §501.



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         35.     Upon information and belief, the foregoing acts of contributory infringement

 of Plaintiff’s copyright are willful and deliberate and Defendants have profited at the expense

 of Plaintiff.

         36.     As a direct and proximate result of MP 36 or the Doe Defendants contributory

 infringement of Plaintiff’s exclusive copyrights in the Copyrighted Work, Plaintiff is entitled

 to recover its actual damages resulting from Defendants’ uses of the Copyrighted Work

 without paying license fees, in an amount to be proven at trial.

         37.     In addition, at Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff

 shall be entitled to recover damages based on a disgorgement of Defendants’ profits from

 infringement of the Copyrighted Work, which amounts will be proven at trial.

         38.     In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

 statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to

 the infringing reproduction, distribution, and public display of the Copyrighted Work, or such

 other amounts as may be proper under 17 U.S.C. § 504(c).

         39.     Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant

 to 17 U.S.C. § 505.

         40.     Defendants’ conduct has caused and any continued infringing conduct will

 continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has no

 adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

 injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

                                THIRD CLAIM FOR RELIEF
                              (Vicarious Copyright Infringement)

         41.     Plaintiff realleges the above paragraphs and incorporates them by reference as

 if fully set forth herein.

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        42.      As an alternative theory to its infringement claims above, to the extent any of

 the Defendants contend they did not directly infringe or contributorily infringe Plaintiff’s

 copyrights, Defendants each had the right or ability to control the direct infringement

 described above.

        43.      As a result of each Defendants’ right or ability to supervise the direct

 infringement described above, Defendants could have prevented or stopped the direct

 infringement but did not take any action to do so.

        44.      Defendants each had a direct financial interest in the reproduction, distribution

 and public display of the Copyrighted Work and each Defendant benefitted from that direct

 infringement.

        45.      As a direct and proximate result of Defendants’ vicarious infringement of

 Plaintiff’s copyrights and exclusive rights in the Copyrighted Work, Plaintiff is entitled to

 recover its actual damages resulting from Defendants’ uses of the Copyrighted Work without

 paying license fees, in an amount to be proven at trial.

        46.      In addition, at Plaintiff’s election, pursuant to 17 U.S.C. § 504(b), Plaintiff

 shall be entitled to recover damages based on a disgorgement of Defendants’ profits from

 infringement of the Copyrighted Work, which amounts will be proven at trial.

        47.      In the alternative, and at Plaintiff’s election, Plaintiff is entitled to maximum

 statutory damages, pursuant to 17 U.S.C. § 504(c), in the amount of $150,000 with respect to

 the infringing reproduction, distribution, and public display of the Copyrighted Work, or such

 other amounts as may be proper under 17 U.S.C. § 504(c).

        48.      Plaintiff is entitled to its costs, including reasonable attorneys’ fees, pursuant

 to 17 U.S.C. § 505.


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        49.       Defendants’ conduct has caused and any continued infringing conduct will

 continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has no

 adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

 injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.


                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment as follows:

        1.       A declaration that Defendants have infringed Plaintiff’s copyrights under the

Copyright Act;

        2.       A declaration that such infringement is willful;

        3.       An accounting of all revenue earned by Defendants resulting from their

reproduction, distribution or display of the Copyrighted Works, or any portion or derivation of

the Copyrighted Works;

        4.       Awarding Plaintiff all gains, profits, property and advantages obtained or derived

by Defendants from their acts of copyright infringement or, in lieu thereof, should Plaintiff so

elect, such statutory damages as the Court shall deem proper, as provided in 17 U.S.C. §§ 504(c),

including damages for willful infringement of up to $150,000 for each instance of copyright

infringement;

        5.       Awarding Plaintiff such exemplary and punitive damages as the Court finds

appropriate to deter any future infringement;

        6.       Awarding Plaintiff its costs and disbursements incurred in this action, including

its reasonable attorneys’ fees, as provided in 17 U.S.C. § 505;

        7.       Awarding Plaintiff interest, including pre-judgment interest, on the foregoing

sums;

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         8.      Permanently enjoining Defendant, its employees, agents, officers, directors,

 attorneys, successors, affiliates, subsidiaries and assigns, and all those in active concert and

 participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights or

 continuing to market, offer, sell, dispose of, license, lease, transfer, public display, advertise,

 reproduce, develop or manufacture any works derived or copied from the Plaintiff’s Copyrighted

 Work or to participate or assist in any such activity; and

         9.      For such other and further relief as the Court may deem just and proper.

                                           JURY DEMAND

         Plaintiff hereby demands a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

 Procedure.


 Dated: November 9, 2018
                                                  Respectfully submitted,


                                                  By: /s/ R. Terry Parker
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